         Case 1:21-cr-00028-APM Document 442 Filed 09/30/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-cr-28-APM
                                                  :
               v.                                 :
                                                  :
 KELLY MEGGS (8),                                 :
                                                  :
                     Defendant.                   :

           GOVERNMENT’S RESPONSE TO DEFENDANT KELLY MEGGS’S
                  MOTION TO SUPPRESS IDENTIFICATION

        The government agrees to not seek to introduce, in its case-in-chief, Officer Dunn’s out-

of-court identification of Defendant Kelly Meggs in a single-photograph procedure. However, the

government submits that, at trial, it may seek to elicit from Officer Dunn an in-court identification

of Defendant Kelly Meggs, so long as the government elicits sufficient indicia of reliability,

including Officer Dunn’s expression of an ability to identify the defendant with confidence. See

United States v. Morgan, 248 F. Supp. 3d 208, 214-15 (D.D.C. 2017) (holding that the government

would be permitted to seek to elicit an in-court identification of the defendant, “so that the jury

can evaluate its reliability”).




                                                 1
Case 1:21-cr-00028-APM Document 442 Filed 09/30/21 Page 2 of 2




                      Respectfully submitted,

                      CHANNING D. PHILLIPS
                      ACTING UNITED STATES ATTORNEY
                      D.C. Bar No. 415793



                By:
                      Jeffrey S. Nestler
                      Assistant United States Attorney
                      D.C. Bar No. 978296
                      Ahmed M. Baset
                      Troy A. Edwards, Jr.
                      Louis Manzo
                      Kathryn Rakoczy
                      Assistant United States Attorneys
                      U.S. Attorney’s Office for the District of Columbia
                      555 4th Street, N.W.
                      Washington, D.C. 20530
                      jeffrey.nestler@usdoj.gov
                      202-252-7277

                      /s/ Alexandra Hughes
                      Alexandra Hughes
                      Justin Sher
                      Trial Attorneys
                      National Security Division
                      United States Department of Justice
                      950 Pennsylvania Avenue, N.W.
                      Washington, D.C. 20004




                                2
